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LF 028
(Rev. 11/04/2019)                                                                          FILED IN CLERK’S OFFICE
                                                                                               U.S.D.C. - Atlanta


                                   PRISONER CIVIL RIGHTS COMPLAINT

                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA

                                             &6V, IA/&/T~
7~/        ~             ~.j,      //)i1~7ç~ / c~z~~j ~ 1:21-cv-02527-ELR-RGV
(Enter above the full name and prisoner                     AMENDED COMPLAINT
identification number of the plaintiff, GDC
number if a state prisoner.) C                      2 t2 ~ ~7c(q
                             I ~ p f ~J7/~, / j ~i (~f~’L/&OI ~f1J
                             ct,~ci~cV CO.
                            -~~-




                               11-I-
                          (3   I         €L17~

(Enter above the full name of the defendant(s).)


                                                   NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the Court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual’s birth; a minor’s initials; and the
last four digits of a financial account number.


          Previous Lawsuits
          A.     Have you filed other lawsuits in federal court while incarcerated in any institution?

                                       Yes(   )   No(y)

          B.        If your answer to A is yes, describe each lawsuit in the space below. (If there is more
                    than one lawsuit, describe the additional lawsuits on another piece of paper, using
                    the same outline.)

                    1.     Parties to this previous lawsuit:

                           Plaintiff(s):
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                          Defendant(s):


                          Court (name the district):



                          Docket Number:         __________________




                  4.     Name ofjudge to whom case was assigned:

                  5.      Did the previous case involve the same facts?

                                  Yes(    )      No(    )
                         Disposition (Was the case dismissed? Was it appealed? Is it still pending?):



                  7.     Approximate date of filing lawsuit: ______________________________

                  8.     Approximate date of disposition:           _______________________________

II.      Exhaustion of Administrative Remedies
         Pursuant to 28 U.S.C. § 1997e(a), no prisoner civil rights action shall be brought in federal
         court until all available administrative remedies are exhausted. Your case may be dismissed
         if you have not exhausted your administrative remedies.

         A.       Place of Present Confinement:          bj~///V/V67T (C~                  t~    YE fVT/t~2(V ~frV77L~
                                          .5 / r4c,2 Ti & fY /~ ~f~’f
                                                                .      i2            iii’         c   ‘-   /9 ~        c a ti~~’i~
         B.       Is there a prisoner grievance procedure in this institution?

                                 Yes(,~)         No(    )
         C.       Did you present the facts relating to your complaint under the institution’s grievance
                  procedure?

                                 Yes(K)          No(    )
         D.       If your answer is YES:
                  1.      What steps did you take and what were the results?
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                           ~t~c~e~O              r,~ti        ~T171L~
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                           ~i?c/v,4%~~C%~ L~oUi-ec(3 liv (-7Z~~4” ~
                          If your answer is NO, explain why not:            _________________________



III.      Parties
          (In item A below, place your name in the first blank and place your present address in the
          second blank.)

          A.      Name of Plaintiff:   ‘rWO(4f7 5         Al      LJIL 1- /   4 /“? 5.



                  Address(es):     ffJ(’1( fl PPl?~5             63 ‘3        1 /) (1J6S rt)A/          (f~
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                     ~,4/T-fe ~1t~O L4A’/VC~’5(77~ PKw~- cfl~J&(~Cc~v,(JX
                        ,‘~   3 YO ~ 3              I~LE4 SC 5 ~ (VO EVC(?Yfl(/ It/~ ic I/Df1~ 4/~.f~fr
          (In item B below, place the full name of the defendant in the first blank, his/her official
          position in the second blank, and his/her place of employment in the third blank. Do the
          same for each additional defendant, if any.)

          B.      Defendant(s):    V I ~7O i’?           Hi    1-4-     C      E / F      13   /C ~


                  Employed as     S     C   t~? /   F~    C ,~C / F           4T    C L   4 ~V7~2 hi’ C (2
                       ‘Tf4IL
                  at    Ctf3YTCt’V            Cc2t1fl~”TV             ch1eft/?iF~               ‘-@T.         p•~—~~_

IV.       Basis for Jurisdiction
          Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any
          rights, privileges, or immunities secured by the Constitution and [federal laws].” Under
          Bivens v. Six Unknown NamedAgents ofFederal Bureau ofNarcotics, 403 U.S. 388 (1971),
          you may sue federal officials for the violation of certain constitutional rights.

          A.      Are you bringing suit against (check all that apply):

                  ( )   Federal official (a Bivens claim)
                  ~ State or local officials (a   § 1983 claim)
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                  Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
                  immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If
                  you are suing under section 1983, what federal constitutional or statutory right(s) do
                  you claim is are being violated by state or local officials?
                   £I6~r/-/               fZ/47/~frT


         C.       Plaintiffs suing under Bivens may only recover for the violation of certain
                  constitutional rights. If you are suing under Bivens, what constitutional right(s) do
                  you claim is/are being violated by federal officials?



V.       Prisoner Status
         Indicate whether you are a prisoner or other confined person as follows (check all that
         apply):

         (    )
              Pretrial detainee
         (    )
              Immigration detainee
         (    )
              Convicted and sentenced state prisoner
         (    )
              Convicted and sentenced federal prisoner
         (    )
              Other (explain)    Wf~     .5 ~7/1(i~/~ ~ P ~iJ ~VP ~) fV P(?O t3f~T/t~’4’ 1/V ~ t- f~ frTOfl’
                                        ~‘


          c2t~’ci,VTi’,     ‘/1r//4’6 r~ &6’ ra coui~7 IfV c~-~,,Vf~~6Tr C~’f~flf~c
VI.      Statement of Claim
         State here as briefly as possible the facts of your case. Tell the court WHAT you contend
         happened to you, WHEN the incident(s) you complain about occurred, WHERE the
         incident(s) took place, HOW your constitutional rights were violated, and WHO violated
         them. Do ~ give any legal arguments or cite any cases or statutes. If you intend to allege
         a number of related claims, number and set forth each claim in a separate paragraph. (Use as
         much space as you need. Attach extra sheets if necessary.)
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                                                                                                                                                                3


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 ,~/~2r ~ ~ ~‘,v                                                      ~        ~‘&0(P5                ~P        7U~7V OIL’                ~/1wf7
  ~A     7/   .~—   —i—-      -   ,-~   .—     —    .        -   .-          -~ .-   ,   ,                        •   ,-~ ,~     -              -   A   A   /
                                       Case 1:21-cv-02527-ELR Document 3 Filed 07/16/21 Page 8 of 17
                                                                                                                                                          L-I


 (po’4~’ i,V~-o (éi~ f3c.-~2cH-, ,V~          /~~1uc-j9    rii- c~2tiiW-~ riii~~
 ~/f-25’ p~fV/cgf~7(4-~- roe? /fVf11/97E.~’ S    ,9A1,v~c- t’ci~ j~2t(( OC(~~~’,
 L   /25  VcOC-~7~2~ 7h1(z él&(/7 1’~/~Vf2,67~/V7 t~v,45 V(~7€/~.
  ~.-/Hç                   f~~iç2        T/,’CY         frc’r                         p(51V T~5C
                                                                            c(qu~/7’r y~fl~
                                                                        ~t157
 ~ H~ç~y tVev~-~ w46~ ,9 aicefy,9aq~ ~t’f97~ z                               ,~ ~
r77’Ar &e,~l/ci?/97vf? ‘5 ~ ~ 7-w79r ~                                      2ó2,~ ~3C~ F/KU:)

~ ~?(/~t4C’5. 3.. Ct~247p&A/5,9T/&/V i~oñ~ ~Rci~c— ~                                        c~e~
P61~4”/ $7~ 1~2 &,rr   ( ~2    ~ ~ O~/~~C~7     ~ 5 ~ fr /) LI TY ~ ôrT ~o//fV~y4’
        ,~ LI C- u ~   /~                    r
                               2 a &,w-& A ~7 /~V                  ‘,-~i,~rc~ ~/(i6/?~ ~4/~ ~
c’ U r e7 (~ T1/- ~ ~ (~ L t-~    tZ ~TO /1/Vs C ~Z-’ 1-4/4 5 ,~‘ IV (2 Cl 7p, ~ 7~ (-V,~ 5 ,‘~95r
                                                         -



LI6HT1J ~c4’r~ T/f~ ~/CfiT5 ci~’~ &‘IV ,~4’p                                                           iV~V~4’             ~/ILt1 o~ ~‘i?
~//~7/~j(.~42 77L~ ?VI7L/ 17 ~&~2c2. T7~’C- C-€Lc~-                                                              7~)L~      Vv’(7W 2 H/C/I
(~!T~4-’~irV                           ~ ut-6~           iiV TI-IC        ,~I~TL4~i?E..          2E k—/T~       tD(~J 71ff ~&P ~L/4’b(
~                     ~                r6’6 t/Cf~’7~ ~T                   ~/A5          T~Cn~6,             V(~C1 CpCU~i9 1Vt~T~er-
Atf/~4f—                   /~~Ot~1           7//~     LIC’/.f7~~ L4/E L/h’e/7(- 1~Or 4tL~2~/~2 ~
~             ½/f?             í~tM~         /I(~~~~-<    (~1fr  17/5/ iY ~i9 T~ P(~’C) &i?C~ I 6/&L~ ~~/O(~5~
 ~“E                  i~/f-(~(?(             T~~2L~,O         ‘~         ~              i-(,~cW         ~ 7~  tt/c’r IJc~~
r)L(-7-                   ~        ~                   ~fVC4~1i            ~2U7        &‘-       1~7Y c~eL’, ~ 4/e’/Cf? h,9P
 17           /~) 1       c C ~ ~9- R V dc CPO~1? T~ ~) U C                                   K~’I~’ O~ 655           L~//9- 5    /1/07
      1lC~j.r               Cø                                                                                   -9         ~Or~-iC              ~
~L$e’~         c/A-’- w//-/K ~-i/A-5 7,~C/~J,4747~’ -7~u/Qr ~7
C/~f’(~17~ 4/~7~          P       1~~/~16~            T~r~,V rD 7~//( /-~OL~
~ r      i..vA~ TIlE ~‘4e7e &IL~~               t’V(-I\~ AIV,9   /~/~ ~2~N6 ~‘r~‘~



Th~/~       L,Vi9~s ~:~/pc//~( 14rV~2 u4’w5ui91- ,‘t~’(V/ciJr’-iC4’T i
~-~‘ r’-i/’K4’ 5~nc~’          FL’~~A’ r,i~  i06~7~U /P~     T 11/&IVT TH(?(2t’&IJ
 /)fV~ i-Cl? T17,C ~?46~-(-               T~           V/~ioiY~ T7fI~ /~f9P~~,1-’6,~    (L/~


 ifr                  I-/.t/. ~
              .           fVQV~v’if~6/~7 I(, ~C)~E2 ~‘t/A~ T/-/~ D’7V 1/i’/91 tii~- ~/Ig%’~
 I~~Ol-c) Z~ lV,47ATt~f                 / (V  c~ ~ 7~an~~ C ~Z/7fr’ ~T79I(-.. Zi ~141~1T~~- Q C (~‘~
,9~ A         ~ ,9,9V. ri~’L~ ~4i~ ~4-rE~ r~/i’,9r                         fft~i~9C~ 1’(~9/1
 C Cl T~) d5 / C -ri-i E /?1 U ct/~~ (- (~? C U7~//V€~, Ti/C C~ [Vi- y p / ~ €~Z~C6 t,~4 5
 rwrc Lt//2~ 7/~ P~ T//-~C- /V6-k/                           I~2~j~4 ~V;~r~i~i L/214’i~
 (‘711/~i14...JC   LI~1C /~4/ 7/I~( ~P~T~A’(l/Ot7/V ~9 CCL/4CC ,~‘C
  \,Jf1C6~&                        C~-/7’7           c’ii.J             ~‘-/i/~       ~(//!/(~              ~2t~fT~g        cl/ElF          5/CI~6,?~
  /-3fL//2                  /~  C/~’é~c~- UI~FiC~45. /fl1/E                                   ~ 9           (~ c~.         C/~Yf~—                   T/{ez
 (77/1 (?                     ~ ~fi~2  /(~7~ ~(1JO~/~~ C4/~’?e                                 (~C~C/~/t4’(r          //V        c/fl/(7~        ~K&
  I—1~(2                   ~                            ce~ic-           pc/I—         ~9(; C&1~~-~ 9/-IC- T~-’~                           L’(
L/        45              C~C~/iV6           ~FC                         ~ ≤‘         1”~’~  ~    “ /~-~ ~                                 (7 ~
 K—   ~   I       C   -       il   1   K-~       —       -. P —-   -~             A       A       —   K-)    .         -    A          K              .   A
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~_6~2                 ,~ACh           IfIJ    C€L15. An2/l/F  OP 7_If ~                   iNi’i f)- ~   ~/f~T
       /-h~~f/E       ci9(~~’ii-t r    c2’117   (~//~‘Cf~ ea,VL~r~EQ,                ~_    E5~/,~2,~97~c ,~         ~



 Io~ sc’, T/F~/?c~                cLo~KJ ~5O ~T3
                                  /)f?E          /V~              /!,9(?/) T7~ ~E
147~~/~4;;,q77:z-          i3 ~t r i-~/~ u//i’e/PE /4/ ~ (-42. 77f/~ 1; L~/II(f1J77t(
                          ~,
                                 7) f~i ~                                                                          ______



 ~~7cç/r-c~ ~CcA’/V’9 5r4fprEf2~ I L/~/’VT             ~       ~flV ,~ L./A~; /1
~ T/I4cf~≤ u//;2~ ~c1~7~ 3~7 -ro €-(~2                               2C- /1-Np Ct2I~C7
 it2W~’ (2,~F/CE(P~     4/ 21’iñ~ c~~-~-t 6t-C’Ui-. ~WE C~F,~/CC-(?~ z v(tJ~—
                                         ~‘



ri-ii~r 7 cc~4-’ L~z/i’ ~/i ~ / VI C r~cq~’ i-j / L        ~ ,4~ E/ F ‘3 / C1-t- ~ C~
P(~TZ(?~yfv t-r 6 LI
                  -        -   L -r i3 (~ (9 c-V fi’~ (~ t2. C /~- /t~~/2JO ,Z~ 6~ ~
/1~?   4 Y~f? (~I~ ~~~7V’ ~‘ ~                           ~        KfVCi,~— TI-i’ ~
l4/7~ ~ ru c~ ,fE Tit’ C F,r j’? ~ ~ /f 4 fl7~ i~) o ~ T7/ C y ,—‘ti T ~ S c~-’
T/ft~ i~/~t 0/V t~v~-~’C t ~V(*7~ F~2ci,~17G- rW(- t~~/4tt T1(~c” t~J64’T
,jV C1’tL≤ ~1fV0 T#/?(t~” ~V~’T~’/We’               617 Y/,Vf(C(?~ (IV ~e~1-(--~-rWe
CCIZ6-5        /-(C~~) t-//4~ &BA~&~ ~tii~i/’5~ 7~7Ié~~- 7_/(C4//’(~T
L~i≤   &il/~TA/~ ,lul/0 S77~2/~T(~2 17~tt/7z4~- tl≤ 1-1(15 ~ ,t/c’t~—,4
~ /~ i’l L                            F4 ~ /~ / 7~,L1~ r4            t’~7~ (1 ~
                                                     779/2/P ~ ~V t- I A-’C               ~,

THE ~-h’~fiF   t-VOc~,9 i~/4t~ ~?C/7 ~7(~ c~tC /~tc~- ,4/VP ~/4(-t~<
8/9C,~- i,v 4,v1’ j_~/~-   -~ai,9 ,~4t/E 1c’ ~~6/~1 C//C-/F ~V PCCc”C,
T1~1,-4 ~zeA-T ~fc/ fi~Y~ f? /i~~ L-i~ VV//C~?C YOL-12 (2L.f1? CECC~ MAP
T€2 8i~ ~                        ~ ~{ /f~   i~  ~2I9V~ L1/& ~‘e~<P~ 6fl/&•
(0 IL~l/,1/f~r~ TO &t’-~7 ,9~fP’ ~CLC-5        V~7p~ J1C,9~J/
  7i’C                ~Fr               C               rt~7     C5/fñ/r~                           or71~f1~ ~     (
~            /!~2ti~~(fV~-            wiVer5,           ,1~S~2ti7~ ~      ~3         /~1, I~-l      ri-féK ni-i
~                  i3f9(/~        F~? 41Vc77-7(-f?                   ~/f/9/i~C PC)v,V,           /91~( LJIVI1
~1~-~)r           ç/y~9~~               ~,~V/1v1    £    r,’/~-7~        ,~ 4        /9,~’ fl/t/f~2 ,~ /1/9’~/~.
T71 ~c     ~—     P1/ r        ~c        ~ ,‘V rif≤            t~Vi~ ~    i~ /17/9    T //c~ p        ~ T6’4’7~ /9
77!/P~v7 ,1~C               ~ r ‘~            ,~ /V ~‘     frW ~ r ~ ~                    ~    r-   c~ i~   Cé C
(i~4’it               134~5       fl~°L~?(é/9      ~~A6-c~    ‘~~yPc~
                                                               C(—(’C-f( ~                TIfG
(Ve27        ~     ~        57~77/7t~v4/ /~4/i?2 (1ifP,t2~C i7/
CCCC /3(~2CI~ S12f4C- Oi1/~ ç4//9 ~ /~ //V £~L~- /2, ~
~4/~-g /~~7y /~I/~74/~ ~ ~/,Q cj/o~j’I5 L/7T?-~& 13fvP cAL//i/i-’
~/,4ITéf~5. ,~ OF7~lCu~iQ 1-0~-~ CJ1J?/5 ~177~6~≤ t~ &d 7~2
CELL., HE                   ~~V/9~       j/4~’     y7.fE       CELL—      c19tf/~i_E f4-7tf’~~~c5 ~‘~t€v
                                                                         ,~?
CA(9TAIA/      TCt’P~fr                             ~EL-(-~IO        i-~’ r~ ,~rvi~ ~ ~rc
6?~rLu/?4f rô   ‘ciá~                              ~-,     L~/t1IL(      &OH’V&
                                                                          ~,ç(~’ 1/-/~ ~7•-i9/i~5
 ~( Oi~fCCI~? fH/s~IEP                             i~~7_ci  e~’ C~~- fr’~l/ ~-z~’t-c~’ ,~€i-~1í’~’
4 5C~p/~~(: &o/4’~                                 ~ Ct’-/fI’/~ tir-rLc- ~1,-~M7Tf~2 ~-‘,~A/C
~                                                  II                    5~f~1/2~’,9                (4~t/f/~-tjV)fC/~~
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       f~fi/~’L~       ~3~1’i~’&   i/i’/1~’/5     1—/Tr7_-E-
                                                       C(~tC- 4/z/~ ~&~—~-~-‘
                                                                 pj~j~   ,~

THE     TA/,P,.5~. L//f(4Z 77:,~pr- ~/~55~p      t~/~ V/~/&/~ T&(-t2 •7•~~’
(~ TO Tth~ ~ Lfe ~ ,~ ,~ ro &/~T 0/V ~
/1fV(-~     4,yp ‘rc’c,o ~ ~iJT Pi?~-         /t’9~ ro r//E tv4’~-
T//6v ~T/~TE~’ ,45 /( / ‘V& /~ ~ ~ 4’/                        ‘~       ~ ~     ~



T/~,-9r t47A~ Ptir TI           Oj2~-ft’ r~e V VT/~fl/~~ T(~ 1t2/ A
~ Cf-/,?i5 ~irri~ ~w~~z2                        A 5/f~T r///?oc~ff TW~
t~~’     A1/V,~2 vycyi?K~’ ~1? ti/(77-~1 ir. n/cc.—            >/1—L’/:) (47f1~/)-7

I 1  ~f/1 5    ~-f 5 (P P C (? i~ YVP    LV(- 70 L 4) T/-/~ ~   C i/P /5
    f~K,~4 c’~1T t~V(7i-/ /F- A/t- T/-16 tY~~,4L ~-~9~’5 I/,T/2
 $~f/l/ c/ff?/~ i2~ 7-f-If;. /~ /5 A i~7~K /3c,rt/26,p /H~
 IS      A    //t/~é fr~1/?/~ ~ ~t,1T THE                                /?OPc     All/P   t~7~7gL-4
U~       we        /-/i~?~2        r-i~c~t’     ivcr       r4oy~. rIFe~?E l-~/,~F 4~o-r ~
T,’-fii2/&   7~7    /(V 7#~ t-~~-L- ~17 c6~1~ tJr77e~’~ i°~(?c,oai,qL
 r’Hc’fW ~‘L~212K. /~tL- TH~ (~r/~fe/~ /,v2Ar~~~ i.-v’f~/?E TOL-U ic~
&&7    T71~,U     rL/    /~/1/~ ~-€~~T ~      ccI~/~-5 ii~c≤T1oiz’
~ 77Ié~ &u/— ItV 77~ ,v~r ci-t-t- ~c~T (‘l’i Fi4/LT ~
~&p          1~’1(~ ~ Y~2ce                      ~t.~4-’~4) ~ rC c’o i~v IWrr t~’A6-
h4c~    T&c~f( 171(5 f/V f-//$                  ~   ~ i-/pt-U I~V 1~’?~ ~ ~2ot74~>
cfL/~97-I1’e/P                       c~i,~5        /~9~2
                                         Af2’Y7~’//V~≤-//Vo fr?,9T~’$1 j4’~9
 ~~A’k-c-r’~c~ fVc’ c~/{EET5. 4~t~- 3 W/~                  7~7~i~ C.t2~L-O~€/~~
c~9rn~c nv w’rf7’ c~,w?i~5 t-/T7~-~          f•f~  cc.’t~P C-e~T 2i~f5
                                                              .~



efi1o4/~    2t7/<~ c/-(ié?/~ r1~L~ ,-~‘?E i,vp ~AL~/(,v I/C- ~
(rt~(A/(,- 7~C T(1~ /?‘~t-C     F~G(?              i?t’~.’ Pf~       Of~Q1f’

rc’R      -rWC      R~2P~      f-~’E f~74~9~.      ~          ~-~/2      LOcv(~’       /~~~‘(P        ,1’iAT”~
4/1/42    ~ /9 I/I1~ L,9T7~CY                    flf~7~ ~/t2 ~ i3L4~/L’Kc~.
                                                                    ~-



 ~z4 .9 6 ~O Ii &b’ 7~ /) (V~2 i~ / V ~4” T 0 C A Vi ii-’. T i/ L~ c,t iv r ~ F
Pt-11 ~9/V L-UCH POe’ZiV 4,VU 1’t’17 CIV NUTfi?f~ t-C’/9/~. 1~ PIU ,4)p7-
ft4~~J( f~ i’lAt- f~f~ ~ p~,ç—~5 /~J~t’ ,ij~     /~7~3 ~            /~,4/,~T fOif’
Cr ~2Af~ Att lily CEc~-f?C~                   ~~/r i.-v’i~ rAK/~l9IVA2
/s4y ~4~/               ~ t9L~                            /~7~     ‘~/1/~ i~41’é~, $7~9’~7,~ (/9/1/29
~tVy,~2C ~5              A J/l/i~,T 7E          ~i/~ ~    ~       ( (~//~ TC/1C,22 LTL
 H~rC         7Th1(i41   (2c~TOP f~-~                    K/VIT /3/~ AJV& i~zi9t-ft Otl1~ ~1/T
Ti//~’47      ~       ~-C’IZ   ~7-/f5 ~,-,9c ,~cc,c~s6 ~p
Z                    7t2  A1C€C.~ 4i7/~ ~T/?7?~ ~ ~                ‘~I~ &~r
 r~e”~        ~A(-k-. ~/v T/i’~ ~7ri,~ ~,4v ~ iv(~i      ,~iiv€c~-r     ret-p
 ~ 6-r ch’~/      /, /2 ~ ~  /MP 4/ o B L 19 /~“/(ET i~ ~ 1/ é-(~Y5 i-/  7 01- U                 ~-



r~J-/e        /-(/Z’~       PVO7- /9~9L/L~-       i~7E~ ~/‘(C-Tc’(? WfL~L
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                                                                                                                                                  .7



             r/F€                           r)17/      KVC~’-~C2
                                                    4~/iZ 77~€                          ~2~/Z/’7         /~5t(
11/~KT     ~ 1C~L-~9 r/~1E     /U7?≤~ f~15 ,~‘&&,~1 ~ w,45    cz-i~
A~Vp Wi~~ ~‘Vp B~6/~7/f~7 AiVP 5~/~E /iM~P Tf-/~ i/~~KTe~.E ~/4/6~
~    ~2iVE. 1~ t~/HE/P~ j.CC/r(-~O pO~V,V Fa~O(~2
T~9          f2~i           ~2~()~                        ft~1O       /9//c2f1/é~1                /1/0   Kf~2~’K,fl/t~7   I~1(-/21Cf97--
        i~-57~c 1~-’f7’EfP~ f9tCOk,EfL~ zr i~v4-5 cicn- A~ ~‘~—& &ve,~
i3cciv A,’V~~2 ~ow~3 /Vc’-7             (?-c~T ii~c—P ~        /1,~fC,~L ~ftt~4’7m
 ~1$EL(f V(- ~ /-/Ai9 ~ofl0/2’f~ JifPt/5 ~/7~ iA/f95 rVek’c-,’~’
7(57E~Z zr ,-ciU2 i17~&i~ lI~P /1                  /~c-i~tA/,in~p- ~cP(~1?7~
   ti--    -?~2’-5         5              L-   / t~ f’1f     ~             ~                /~V

L1~   /-~‘   -7--4
             ~       ~           5 /11 A ~
                                   ,~—              ~ ,~ r p/~1 77~ t-~/~
                                                         j4//~                 3                                                   ~,



~~i45     41~f?fC19~t ME            7€P L~V/7u1 MO RE~I,~2f) P’,/17
 M~ WE4~T/I ~ ~77’~ 2T T~O~( ,~ ~c2(1~’ ~4/~Yc4 77~
 F~-/3 r~ ~E€ p7~-i91C4L-                      ~V(~
  /~7__           r’~-~
                   Fo1o1vr~ ~e       o~—~C/1e~iF (~/~-RS c,71~2C
 ti/’i T~e~’  S~ Th ~ T~ E ‘S ,~ IV f) /YM ~ T f~’≤ •r /P(~i 7éE ‘~5 (,-                                            .~                      €~‘


7/{/5~’U~fi’       17-IC C-€c.L’5 ~ ‘779~ A(~e~~ 6~I1~E                 (i5/9,&/—~
2D /z’1?O            ‘~O~&p     L~/t~f?T77’ ~ ~-~,4~1V ~
&c’7       ~ ,9C~ /1/ a ~/{~?t~i/~(-i75 j~O~ ~ ~ r,~1/~? ~,q ~
1fl/~-            it’iv           ~77t                                             -~~9g’~2         /~/7f,~   /~4,&~—
      -~9r5~ ~ ,9’1i~2 ~ PwfVf5ic~ /41~4/7 j~p/)~
~/L1~f~C r& F~t-L~&tv ~ ~%E≤~ e’~ L/9~-< IE
~Ye,V~,4Y~ EL91~ I~V                    YT/1/7Z/6~ 7~2~2~ f~f1/g2 ~
rw~ ~-~‘e- 7~,V~9            u,vu5~t fuV(5/ft~1E,1/r 771E~ ~c7-~
 LZV&(V fCQI~t€ //1/ THE f-Ioc~ i1(?~             /1-/-toc~/e9 7~Ci frn~(
 Pf~’c~/Z/~5 4~Z/~2 ~/€~25ft~   ~,1/I1 7~ ~ (4~/2fC,~         ‘~      ~rn~f/~
         AC-C ~‘-~9~ /•~, ~2~o            ~        Po~/2/ ,1c,-,9/,Y~ ~1/~
~/7’Ctiz~j~     /119 ~ /-/(?   C~~ti’r, jvp (‘//oi1/e~. /V0 I1/O5Ii~ /1/0
c9,-~1f47i54/??- A/Vo                                     nb          ~/,v.i~” ,~CPo4~7                                   Z~       &/f955
t/t’~~   1f!/~   //1:1~                                 I9L~C         ~/, ~2o~                      j     y,q,V7~   Cc~-~,4f/~714.
        ~2c~          ~          ic           P   i~t~—4’ ~0f~ C/!~/5T,~145
 1/2 4 T/Q/~- P~2(? ~9-ci~- iv~ ~ ~‘~‘r
 ~    c~/~ ~ ~ 8VE11 ~                                  7~~t/~~- ~
L,Z/ 7h~   /D    I, i~ 4rP     c 4 i~P/? crf~ f~ ~ c4 /(E) ~ /9 ~: fl~ ~ u /~/~ ~
(~ft/~-~  /1/~42    L( f’/f~e’~9      ~ ~C~/1         ~9WO / fEIC-E
~~4it/~/~ TW(-~ I~1I’W~C ~ C4~ ~ L~/l1 E(?~ ;~{Le/l1~,?k’ 44-~
(~1i~48i2(         F~? ~ rf~”~ ~7i~9~- /~,47V7
i~2i9K ~‘r rH~ ~ T~ 71 ~ ~ ri?A~— ~/j~/
  fI__   f   .~      -q—-   iTh   ,•   .~   —~—-   ~    —1—   /   ~   ——       ‘   -   -4                 -   —-           -   —   —    -   —
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                   4/V~,g4[?fr’       /‘~,~‘2o
                                 Z/•/4C’& ~ (~j~- k’~ci /~L/777-~
 i3A~-~r (~&t~tfl,~2 /~p~f31,~7/C/V Foe~ v~c-i i—a U~c~-/~?1v~D
 ~V/1 4 r ~ ~4/~ ‘9 -rw /~5 j9,~ ~ F / (1’ ç,    Tb~1? E /9 /~ & j~ C2 P W~24I~  -~-


l~ c9 ~‘KS / (V   C        C ‘uVr7~ ~         iW-t~/~ /WP~?5. t.~/n’eiv
~~ci~A’ /int G&T           fc~r~2   ,4/ ~a~7                -~ri~      v’s                            ,~-‘                 -~



 I~/e1(~f?é          p15c/                       Z?~-f2~ 7jf≤
                                                ~ L~/~?,Y~ (~-~7~ (1f~2
 ~//V~9 I~/~ /AP~2/~iA77/),~,- r&~’Y ~ -r/~E-fr fli2 TY~fr~é (:3c~-T
-ro ~i~é-Et’ V~ic~’ rcoL-c~7’EP F~Of~1 77~ C~(O~ ~t2f~t12.
 7h’ev    t(~/7~6~ 77-1-        /J~//~747~9 ~Fc~’ ~ H~ ~2UT~ ~K~iT ~9f~
 ,qtt PWC~fL/E~ ~1J7             /9fi-’6’ ~/l/i~-F~ i</&51’r~ Th~V~ ~.
~5/?’&i-VE4”s, CI~V y~9c~ ~//t’E ~-t                  i,°c—~ 7-I’~V/LlV6- 7~
 ~       ~ f~’f~ovtJe ~ / ~,v f n’rf7, ,A ~V p i-/i’- L.VK~’ ci L-tI f½’ T C- r   ~‘                                       ~.



 Vaw ôcir-              ~~1/~-                   ~?t//4.’E~                   h~L/~5                  ~         t~’t-,~ jv~rr
~Aft~2~-~                   pF        ~i                            A~t-,L.~j.          ~2(~            %‘77#C-41V      ~‘~p
i~o1c~ I         t~7,11V ~/~‘75~ iif-?f?p~v &i~’~’               rr-,lVa- ~ ~
    7r~-74’ls79fPk AIZ/P ~/~t~1 ~2t1L-A~ 11/(Vé~i1 13’t/Y P4’s1i~f~9
 ~           ~             /~ ~ ~ E ~ A                 €, PG~ñ ~ ~
C(V c          i~1i~A~7?Jç ≤7i9/’7~P$ ~t’-~ ~/&r. 5T4IvV~5 ~..—ccn~’
~ ,~7Yt/           /~7r~1 15AiP~ Pi9(~&~’         2t~(~ 7V~7~ TK6K pf~2 iuf~/~é
13 6- 5 7~ Tt~ ~ 1— 1’-? ~ ~E CO 4”-r,~ tr ‘fl2 ~TH ~ ,~ (AT5 ~ w rr7~                                                          -



7(7tf97’      4,/9[J5      c’(V ~r’W~ r/1~5r          ~7    &F~ ~ 4
     z1,-V1;~ PJ&~/~,7      iyV~:(Q P1-7’Ofl/~5  /~Af CE~C (~I’~2(J(         ~C~2~25                                  ~,


 V5≠- C/~7~’~                F~ ~fVP            5~t7~ ?.~‘Vi45    AtL T/-l@
~ ô~ifl/b ~ ft~V c~~L ,3c-o~-Jc ~                                           ~                                        ~—



 Bt-t91c~~~      ~e1~’ ~-4~t1, 1k’,       2~O      ri-(C ~                 ~C/D~2
 T/~ /r)L ~     ~2 ~‘V~~- ~ ~ /~ VPT~ C- ~ /2          c~ -ri-~& ~ /~OfV~5
                                                                         ~-       yft (C
 ~      P~ ‘5 ~II/~ ~i’5 ~/i°~ ~i-ei~rr 4fv67 ATC~~
 -r~ CRFPr’51 / I/CIi’C jzi~’e~iVé iti f’c-pPc~≤- I             —~2Lt-’~i~’1 V/CT~Y,1’
 f1/f~ C411€ ,‘~tZ 7/,’~              ‘~/t-~ ///9~2       -oiv~ ~cit/~ /q’/f~
  I-IC- 5,91/2 T//1u1’C~ 1,~/C~Tt1C(~2 r~ /-/€ic. ~-cY p,~y ir HC- ~
(V07 Ft 1V12 t~~W7      L~~/11~O   LIZAF    //VVOt~-t4~O, 6y~1?Y(9(frE j’c7~/~
 (O/VF~6,OEVCft’ T/~’C~ ~1V€ ri-≠’/)r ~TI9~Crp I7iC ~
~ 0 IV Fl 5’ 5 ~ /3. i~E VtI1’Y ~2 fV~    / /VL-’≤) £~ ~—&4 ~/~9 5 TA /i~/V ~C2
TI7tE    /-IOL-E   <~K~C~-PT T/I’~E ~.            (3, ,O’S,   T1fl~)7~ c774(?r(~ 1~
ViCrc(? /-/fUL Pw-7-- -rife u(Vfi~ 9(V ~~i~AZ rCfi (~
 /2 ,4’- 5, /-1 c- 1.4//~~ ç c~ (1~ (4 i”7 f4/~- / yV I~?         r 4 C ~ 4 A fr/~4/~        ~‘


~-‘e2CI   Y’1t2TH~        i~ei~’S        Tr~,1vFr Y~2ci/? ~Ac7-~-/?’~ ~—ve~
 A1•~?-d~ 77~      ~e~jqL     ~                               iYJ//I/~   I/V i14K FA~&
 I   f   /~_   —          3d)   ~—1        —..   •~,,,   —, —   I    —             -~    ‘        —     ‘   —‘   ‘          ~
                 Case 1:21-cv-02527-ELR Document 3 Filed 07/16/21 Page 13 of 17




     A~                   ~                     ~ ~
 19c2fV’r /~ff?~/é            ~ v/.-ivT                    ‘4fP,~ ~(VI2             /1f?i~2  ~-



  L/t/ /-/ V p ~                V i~( 4’ t-’E ~‘2 é / vV ~‘1- ~ ~/ o (? S r ~ ~v c ?~ , ~v
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 M’ ~ 1~/~) ~ fth2/1/~7) rv15 ~ 1~ 1t’t~’               ~,            ~ ~(~d~5 7~6~ [vi,
 ,t,f?    ~L~-’,~f?V -~ pp~s                        .~L                      ~ ~
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frA/~’f’r/l/(,9          7 C~Y/’/3              ~4-’~’(K £~7 t~/~ ~
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   2ot-~/ -ri--re 577~7iiPS, ~ Cc21JCL~~ f/€4fl T[7’~ R~9T,~ ~f~orz
 ~ C~L) 1~v47z~/-/e/2 ~7/~                              &~    ‘~P~    o-~-- ~‘~7AI,~( ~‘r
7~   r(-IE ~i~/,~45     ,~f’     T/#6 ~7~f t~/47-/J(?’~’ 7-f-fell-? ~‘9~
 77{Ey f7~7~ ~7t1’ -ri-~ ~~q9 9 7-& t~-~7~ C, (2, /~‘4’ff/?€’~ ra
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fr~-i&c’f/fr/4/ç. ç~-’4ztz2 i~/~~-r ~—f-/~’ ~1L2 ir A4~/2 T~~’f( TI’1é7~-z
T0 T6~ L,V/itOt-c~. C~f~’7~fAZ f’ETe~;~~c4—~ ~‘t_~ ~ rW(5
/.≤    ,~9 /7’/3?/,V~~ ~/1/ 1~/~c~z~i-y L-~ LW7L~ 1~c~7~ VCk,1
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I~~i~’A 7~ T~h’~1-       P /&     77         f11c~?   [V ~2 ~    ~i/~      pfv&     / jl-I     c~c   CL    ,5 ~
 IA-’/~ ~    / /fr~V~ L/f.4?   / KY        4 /l1~     ~/,~‘p ,4~& O o / A/~ /3 t~’ r-                1~4ve
  J~4~ T/f~ c’iVC’~~              ~v-ii~  6~T ~t//~#é/~ /~ PA?5 LA77&P
   ~-~7~& ~?T/~ ~1’7~’ ~           ~‘   FE     ,1 U~- r1~TLC y~ c0 PLC- rilft T i~.-’i~-5
  ~                         rr~4_~- ~&~r- yP iH~6- WOC-~ 4f11~2 P~(T /4/
~7-r/!E,c ~ A//7~ il~O r / c’ C ~r ≤ /2 ~9 C) ti//i’ ~VC C4 ~V ~ FS T (-f e ~47
 , /L-’ i777,t6~ r ~           ~ C O&”rS ~ 11/ -rAFE ç~2 (-i’d (V(.-~ ~ i~V&
C c~2 /7 i-v? 1 ~4fr, 4 f7/4~  ft.-’ 0   ~ C’ C i-( (/~2 /2 ~2 t.~,V. ~ L’t/,9~ ~TT’ ~LC~
 ~‘/≤/1C~~ FdFP                   /9i~o77/C~ i~7/~(V’5 ç,/V~             TWI.> /5  cI?WCL
/1 ,V~’ c~’ ~                      4’/~/7,~fr7 ,~5j~’( p~s≤ ~ç ~4~z L~.-f99
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                                                                                                    Ic’


 vc’r                        r       ~     ~~‘vc-      NCG-t-e~7~~2           c,9~f- i2 il,,’2       ~


t. /     ~/4 ~
       i~c~             /U   04         X A ,~1               /3 ~ ~r /fV6 7-11 / 5 c ocqI’ r
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  Cfl’iL 41)/p ){~i.44- 1~’i~-/1r’S Vi&ri~,v-x~.
          ~fV ≤—1/~ ~O ~ fi/t~e1~ A ~~/Q~ç/V9fvcC- ~                 ~ ~
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RE P~i 4/~ /~‘/~ ~ 541 ~ 77YC V /‘/V~7?~ ~ / ~/ 4/~ ,r ~  A i~ €~i~C 4/~ f7Po,~i
~                  O/tr~-/~--~O        ~   F/I-~I2   ,4 G~/VI9%’t-~E         F9i~?    ~//O~6~’c
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,‘lo4/6~V ut’ ~~1/I7 t,A~-. 7- I/lIVE (?~C/f’T5 rc~’ f’fj~oc~62 ruiis~
2: F Yc’ Cl (C?C)61 A T T7~ ~ R ~ ‘~ (p73, rH~ ~ ~C i v/~ ~v~c ~; ~q iv () 7~//€
T~fl’5/~T~2V f-/i5T&,’~ iT i~ ~‘~A9i? 49 P/7~’- ~ L-VA/Y1 T1//~
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~1Tfr3~ CCii~,’y-~~~       ~ AfV~~ FEth~P9                     ;:~T/iIl~~ i-o i~ 1~cI~/~
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J       ~-vi94’T         2F9T~5 ro .e~ flI3~ TO    Pc9Ei’7~ tR(/’lcs A&4fA’~7
 T17~4        AfV&     ro 6~T i~’(~P iV       ~~~UTf(l/~ 7—e/~E5e c1~ri~1~≤.
 41.-or- Of /~74T~5 c~ftfV~~7~ f/fl/P ~w’Y6A$ 4/VP Pci    t’OT
  i~1Z/Q~i-   ~71cY~.v To ~o(~7 ~ ~ ~o~—           p~c~ ~                  ~



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 f~/c-~-/3 f-/~i-12. ~ jr~’ct-~c~. r Pr~f~- r/7’I~ ~IIT ~,.-‘ilL
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VII.      Injuries
          If you sustained injuries related to the events alleged above, describe your injuries and state
          what medical treatment, if any, you required and did or did not receive.
           ~       (Ut/ID e,~’oe~r-~,v ~ ~ Are~ rcIcTiI, C19~2C/r~P T(~c-T&’
           I? Tt~fl(I~’ A~C,L~~~Itiii/(                  Y/9f7f)&L~ ~
                              t/~ /~(t~’~ M-P1C4C C19f?~ T1’~7 5T/tt ±c~/?e~J
VIII.     Relief
          State briefly exactly what you want the Court to do for you. Make no legal arguments. Cite
          no cases or statutes. If requesting money damages, include the amounts of any actual and/or
          punitive damages claimed for the acts alleged. Explain the basis for these claims.
            .~A/’J Aci-ui,V~ TW,9T                   TW/~ (c’L/tf’r                I/CtP ,‘1~
          fe2 1~ ~‘T           1 6    ≤f~~(4Dk x               c~D ro i~ix
           /3i~f~~ i            ,iAv~ f’~1f~ T(~~771 ?~(YE-~2.                            ~
              ~ ~ / ~4’~ /: ~               p ~ ,Y,’1 4/(. £.       C 01” f~(V$~4 y7 ~ dZ/ f~’R
                      f~ ‘4” 4IVO ≤~F-~?/4-~                           ~“-‘-C ~~-4’ c/i?~
            4 ~v3              il i3~a 1? 6~9 c’ /             W /1~6    C ~ ~ / q r~ (~if C~ø-i
                       fin     ~~,fl~/4’6- 7~r1            ~i?    /ic’Ttufl/F 13E t,~7~Cp
            /M/t2 ,1-2,,.a2r I1-2I~4~D4 ~ TI/FIT iT /~ /1V41t/9                                       ~
           To ALt cITY 9-r~9T~C Cc’i/L’iV. 4                                j2 F(D~Pr~L IøJ1”,~re3
            5fl T/IEV c,9i2/                     i~77?7     L3oc’WT ~/TK Wu~,Ut/ I)4q~
           C I VI L P ~‘ ~ ,1 T5             i ‘vI’ L 4 ?/ ~ ,1 N ~ ~T i~? (L~ (‘O(Vt2f770415
                 Th’I~2T ir i~                  r-7AD~ ~                      FC)/? j17~97~5
            ~o ~?O5E(’?7~ tR/f~(.5                                 ~4/,t5r
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            ~ Arll        A~/’r//1/C~- Fo’(? Fi~pfVCi9L c~Y~5,~W°’t
           F~U1~ /~I-L rilE c(~u~t Ailjp               ~u,~c’c Pi~///~1e~rr7~
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            ,~ilJ~i?4r€~’/P p141       4rrc,%’ ~o ~j- IL- ,3E 1~/)CcP..
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                   (   ~/i//9/V6~ ~&r1 c/Tr cc~t44/r7-~T4re
           f~fv(c~ F~Oe~7~/~iL        IY5T/i~/77t~/l/~ i3e              -~-p
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                  1-V~fP(f2           /11/      /0      f~f~95,              PffOTJcFf~7fv?
             vjcTC9’V lI/L-C           ,94’~2    cl!E/c         L~1C~I?S
          Signedthis       i’-f     dayof                                          ,20   21.


                                                              Signature of Plaintiff

STATEOF &C-G’i~C-/4
COUNTY (CITY) OF ~ 1~Vi 11,11/ eTT

I declare under penalty of perjury that the foregoing is true and correct.

EXECUTEDON             7_fl.
                           (Date)

  ~ ~
Signature of Plaintiff
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